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                 UNITED STATES DISTRICT COURT


                 SOUTHERN DISTRICT OF GEORGIA


                           SAVANNAH DIVIS ION




REGINALD JAVA BROWN,                      )
                                          )
        Movant,                           )
                                          )
v.                                        )      Case No. CV408-087
                                          )                   [CR405-280]
UNITED STATES OF AMERICA,                 )
                                          )
        Defendant.                        )


                  REPORT AND RECOMMENDATION


        Reginald Java Brown has moved to vacate, set aside, or


correct his federal prison sentence under 28 U.S.C. § 2255. (Doc.

1 . ) 1 The government has responded in opposition to the motion.


(Doc. 3.)




I. BACKGROUND


        On October 5, 2005, a federal grand jury indicted Brown,


charging him with one count of possession with intent to distribute


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            Unless otherwise noted, citations are to the docket in movant's civil
case, CV408-087. "Cr. Doc." refers to documents filed under movant's
criminal case, CR405-280.
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50 grams or more of crack cocaine and cocaine hydrochloride in


violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). (cr. Doc. 1.)


Following a trial at which Brown was represented by appointed


counsel Robert S. D. Pace, the jury found Brown guilty, and the


court sentenced him to 200 months' imprisonment. (Cr. Docs. 69


& 78.)

      Brown appealed, arguing that: (1) the district court erred in


finding that he consented to a search of his residence, and (2) if he


consented, his consent was involuntary. United States v. Brown,


223 F. App'x 875, 879-80 (11th cir. 2007). The Eleventh circuit


affirmed Brown's conviction in an unpublished opinion on March


29, 2007. Id. The United States Supreme court denied his petition


for certiorari on October 1, 2007. Brown v. United States, 128 S.


ct. 300 (2007).


      Brown is currently incarcerated at the Federal correctional


Institution in Jesup, Georgia. (Doc. 1.) His timely 28 U.S.c. § 2255


motion was filed on May 5, 2008, asserting the following three


grounds for relief:


      (1) the federal district court lacked subject-matter
         jurisdiction,


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     (2) trial counsel performed ineffectively by failing to contest
           subject-matter jurisdiction, and


     (3)   appellate counsel performed ineffectively by failing to
           argue in his initial brief that Brown's traffic stop
           and detention were not supported by reasonable
           suspicion.


(Id. at 15-20.) The government filed a response in opposition to


Brown's motion on June 5, 2008. (Doc. 3.)




II. ANALYSIS


     A. Federal Subject Matter Jurisdiction


     In ground one of his motion, Brown claims that this Court


lacked subject matter jurisdiction to hear his case. (Doc. 1 at 15.)


He did not raise this claim on direct appeal. See Brown, 223 F.


App'x 875. 'Under the procedural default rule, a defendant


generally must advance an available challenge to a criminal


conviction or sentence on direct appeal or else the defendant is


barred from presenting that claim in a § 2255 proceeding." Lynn v.


United States, 365 F.3d 1225, 1234 (11th Cir. 2004). However,


'jurisdictional defects are always subject to attack under Section


2255 . . . ." Thor v. United States, 554 F.2d 759, 762 (5th Cir.


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1977); 2 Harris v. United States, 149 F.3d 1304, 1308 (11th Cir.


1998) (jurisdictional defects cannot be procedurally defaulted); St.


Pierre v. United States, 2005 WL 2126955, at *5 (M.D. Fla. Sept. 1,


2005) ("[t]he lack of subject matter jurisdiction is cognizable in a §


2255 proceeding because such jurisdictional matters can always be


raised by some vehicle").


      Brown argues that this Court lacked subject matter


jurisdiction over his case because his crime was not committed on


federal property. (Doc. 1 at 15-16.) But United States district


courts have original subject matter jurisdiction over all offenses


against the laws of the United States committed anywhere within


its national borders or territories. 18 U.S.C. § 3231; United States


v. Lampley, 127 F.3d 1231, 1245-46 (10th Cir. 1997) ("The


Supremacy Clause, the Civil War, the decisions of the Supreme


Court, and acts of Congress make it clear that so long as there is a


constitutionally authorized federal nexus, the federal government


is free to act anywhere within the United States."). Possessing

      2
          The decision in Thor was entered on June 24, 1977. In Bonner v. City
of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit
decided prior to October 1, 1981. Consequently, Thor is binding Eleventh
Circuit precedent.


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cocaine with the intent to distribute it is a crime under the laws of


the United States. 21 U.S.C. § 841(a)(1) and (b)(1)(A); see United


States v. Jackson, 111 F.3d 101, 102 (11th Cir. 1997) ("The illegal


possession and sale of drugs affects interstate commerce, and


Congress accordingly has authority under the Commerce Clause to


criminalize and punish drug-related activity.") (citing United


States v. Bernard, 47 F.3d 1101, 1103 (11th Cir. 1995) (per


curiam)). Accordingly, it does not matter that Brown's crime did


not occur on federal land; the district court had subject matter


jurisdiction over his case. This ground should therefore be denied.


     B. Ineffective Assistance of Counsel


      Brown raises two claims of ineffective assistance of counsel in


his § 2255 motion, one regarding his trial counsel and one


regarding his appellate counsel. As these claims were not available


on direct appeal, United States v. Arango, 853 F.2d 818, 823 (11th


Cir. 1988), they are not procedurally barred and are a proper


subject for collateral review. Massaro v. United States, 538 U.S.


500, 504 (2003); United States v. Merrill, 513 F.3d 1293, 1308 (11th




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Cir. 2008); United States v. Souder, 782 F.2d 1534, 1539-40 (11th


Cir. 1986).


      To establish ineffective assistance of counsel, movant must


satisfy the two-part test established by the Supreme Court in


Strickland v. Washington, 466 U.S. 668 (1984). First, movant must


demonstrate that his attorney's performance was deficient, which


requires a showing that "counsel made errors so serious that


counsel was not functioning as the 'counsel' guaranteed the


defendant by the Sixth Amendment." Id. at 687. Second, a movant


must demonstrate that the defective performance prejudiced his


defense to such a degree that the results of the trial are called into


question. Id.


      Under the first prong, deficient performance is "that which is


objectively unreasonable and falls below the wide range of


competence demanded of attorneys in criminal cases." Cross v.


United States, 893 F.2d 1287, 1290 (11th Cir. 1990); Brooks v.


United States, 248 F. App'x 77, 80 (11th Cir. 2007). The


reasonableness of the attorney's performance is to be evaluated


from counsel's perspective at the time of the alleged error and in




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light of all the circumstances. Strickland, 466 U.S. at 690. The


movant must carry a heavy burden, as "reviewing courts must


indulge a strong presumption that counsel's conduct falls within


the wide range of professional assistance; that is, the defendant


must overcome the presumption that, under the circumstances, the


challenged action might be considered sound trial strategy."Id. at


689 (citation omitted).


     Under the second prong, a movant must establish that there


was a reasonable probability that the results would have been


different but for counsel's deficient performance. Kimmelman v.


Morrison, 477 U.S. 365, 375 (1986); Strickland, 466 U.S. at 696. "A


reasonable probability is a probability sufficient to undermine


confidence in the outcome." Strickland, 466 U.S. at 694.


     The Supreme Court has held that the same Strickland test


applies to claims of ineffective assistance of appellate counsel.


Murray v. Carrier, 477 U.S. 478, 488 (1986); Smith v. Murra y, 477


U.S. 527, 535-36 (1986). In Jones v. Barnes, 463 U.S. 745 (1983),


however, the Court held that the Sixth Amendment does not


require appellate advocates to raise every nonfrivolous issue.




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Effective counsel should "winnow out' weaker arguments even


though the weaker arguments may be meritorious."Id. at 751-52.


      With these considerations in mind, the Court will now


address each of Brown's ineffective assistance of counsel claims.


            1. Ineffective Assistance of Trial Counsel


      Brown alleges that his trial counsel performed ineffectively by


failing to contest subject matter jurisdiction prior to or during trial.


(Doc. 1 at 17.) As noted previously, this Court clearly had subject


matter jurisdiction over his case. Therefore, Brown's trial counsel


did not act unreasonably in failing to contest subject matter


jurisdiction. Additionally, because a challenge to the court's subject


matter jurisdiction would have been unsuccessful, the result of the


trial would not have been different had counsel urged such an


argument. Since Brown has failed to show deficient performance


or prejudice, this claim fails under the Strickland analysis and


should be denied.


           2. Ineffective Assistance of Appellate Counsel


      In his final contention, Brown claims that his appellate


counsel rendered ineffective assistance by failing to argue in his



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initial appellate brief that Brown's initial stop and detention were


not supported by reasonable suspicion. 3 (Doc. 1 at 19-20). Brown


also argues that his appellate counsel performed ineffectively by


failing to argue that the evidence seized after his initial detention


should have been suppressed, as it was the result of an allegedly


illegal stop. (jd. at 19.) He contends that had counsel raised the


issue in his initial brief, a reasonable probability exists that the


Eleventh Circuit would have considered the issue and reversed his


case, remanding it for a new trial with instructions to suppress the


evidence seized during the consent search of his residence. (jd.)


       Where a claim of ineffective assistance of counsel is


predicated on counsel's failure to litigate a Fourth Amendment


claim, the movant must establish that the "Fourth Amendment


claim is meritorious and that there is a reasonable probability that


the verdict would have been different absent the excludable



       3
           Brown's appellate counsel argued for the first time in his reply brief
that Brown's consent to search his home was tainted by his initial traffic stop
and detention, which he contended were not supported by reasonable
suspicion. Brown, 223 F. App'x at 880 n.2. Because this issue was not raised
in his initial brief, the appellate court declined to consider it. jd. (citing United
States v. Lev y , 416 F.3d 1273, 1276 n.3 (11th Cir. 2005) for the proposition
that the Eleventh Circuit does not consider issues not timely raised in a
party's initial brief).


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evidence in order to demonstrate actual prejudice." Kimmelman,


477 U.s. at 375. Because Brown's suppression claim lacks merit,


this claim for relief fails.


      The Fourth Amendment guarantees "[t]he right of the people


to be secure in their persons, houses, papers, and effects, against


unreasonable searches and seizures . . . ." U.S. Const. amend. IV.


"Absent probable cause to make an arrest, law enforcement


officials may briefly detain a person as part of an investigatory stop


if they have a reasonable articulable suspicion based on objective


facts that the person has engaged in criminal activity." United


5tates v. Blackman, 66 F.3d 1572, 1576 (11th Cir. 1995); Terr y v.


Ohio, 392 U.s. 1 (1968).


      In this case, while on patrol, police officers Rufus Brown and


Claude Debnam observed an unoccupied Chrysler automobile


parked in a city street with its engine running and music blaring.


The vehicle was blocking access to the street, as it was parked on


the wrong side of the road. Brown, 223 F. App'x at 877; (Cr. Doc.


56 at 27, 36.) The officers noticed two men, Brown and 5tephen


Hines, on the porch of 1912 Quincy 5treet, which was directly




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adjacent to the car. Brown, 223 F. App'x at 877; (Cr. Doc. 56 at 28,


36.) In response to Officer Debnam's question about the car, Hines


replied that it belonged to his cousin, who had taken his mother to


the store. Brown, 223 F. App'x at 877; (Cr. Doc. 56 at 36.) While


Debnam spoke with Hines, Officer Brown whispered to Debnam


that he had observed a large amount of marijuana in plain view on


the rear floor of the car. Brown, 223 F. App'x at 877-78; (Cr. Doc.


56 at 36.) Officer Brown then called for back-up. Brown, 223 F.


App'x at 878; (Cr. Doc. 56 at 29.) When Officer Debnam went to


retrieve the registration from the glove compartment of the vehicle,


he too saw a large amount of marijuana in the rear area of the


vehicle. (Cr. Doc. 56 at 37.) By this time, the back-up officers had


arrived, and one of them shouted to the others that Hines had


taken flight. Brown, 223 F. App'x at 878; (Cr. Doc. 56 at 29.)


Officer Brown chased Hines on foot, while Officer Debnam stayed


behind and secured the Chrysler. Brown, 223 F. App'x at 878; (Cr.


Doc. 56 at 29.)


     After securing the vehicle, Debnam left Quincy Street in his


patrol car to assist in apprehending Hines. Brown, 223 F. App'x at




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878; (Cr. Doc. 56 at 37-38.) Shortly thereafter, he saw Brown


driving a yellow Toyota Camry, which had been parked in the


driveway of 1912 Quincy Street. Brown, 223 F. App'x at 878.


Debnam then effected a traffic stop of Brown's vehicle in order to


determine what connection he had to the contraband seized from


the Chrysler.      While he was transporting Brown back to 1912


Quincy Street, Brown informed him that he was on state probation.


(Cr. Doc. 56 at 39.) Debnam then spoke with Brown's probation


officer, who indicated that Brown had executed a Fourth


Amendment waiver as a condition of probation. Brown, 223 F.


App'x at 878; (Cr. Doc. 56 at 39.) When Debnam and Brown


returned to 1912 Quincy Street, Counter Narcotics Team ("CNT")


agents were waiting. (Cr. Doc. 56 at 39.) Debnam told the agents


that Brown had a Fourth Amendment waiver, and CNT Agent


Guyer explained the Fourth Amendment waiver to Brown. Brown,


223 F. App'x at 878; (Cr. Doc. 56 at 39.) After Brown told Guyer


that he did not have any weapons or drugs in the house, Guyer


asked his permission to search his room for weapons and drugs.


Brown, 223 F. App'x at 878; (Cr. Doc. 56 at 52.) Brown consented.




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Brown, 223 F. App'x at 878; (Cr. Doc. 56 52.) Upon realizing that


the front door was locked, Brown told the agents that he had keys


in his pocket, and he pointed out which key opened the door.


Brown, 223 F. App'x at 878; (Cr. Doc. 56 at 52.) In Brown's room,


the officials found approximately ten ounces of powder cocaine and


approximately four ounces of crack cocaine. Brown, 223 F. App'x


at 878; (Cr. Doc. 56 at 54-55.)


      Prior to his jury trial, Brown filed a motion to suppress the


evidence seized during the search of his home. (Cr. Doc. 34.) After


holding an evidentiary hearing, this Court denied his motion to


suppress, finding Debnam's initial stop of Brown was supported by


his reasonable suspicion that Brown was connected to the


marijuana which was found in a vehicle parked directly in front of


his residence. (Cr. Doc. 42 at 14; Cr. Doc. 55 at 4, 10.) In addition,


the Court found that Brown freely and voluntarily gave his consent


to the search of his residence. 4 (Cr. Doc. 42 at 15; Cr. Doc. 55 at 4.)



      4 In his motion to suppress, Brown argued that his Fourth Amendment
waiver was invalid because he did not make a knowing and intelligent waiver
of his rights. (Cr. Doc. 34.) However, because this Court determined that
Brown voluntarily consented to the search, it did not need to address the
validity of the Fourth Amendment waiver. Schneckloth v. Bustamonte,
412 U.s. 218, 219 (1973) (noting that a search conducted pursuant to consent


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      The district judge correctly determined that Officer Debnam


had reasonable suspicion to stop and detain Brown. Based on the


above facts, Debnam was justified in believing that Brown had


engaged in criminal conduct, and therefore he was entitled to


conduct a brief investigatory stop of Brown. Because the initial


stop was not illegal and because Brown consented to the search of


his room, this Court did not err by denying his suppression motion.


Since Brown's suppression motion was properly denied, Brown's


appellate counsel did not act unreasonably by failing to raise the


issue in his initial appellate brief. Further, Brown has raised no


compelling new argument that might have persuaded the appellate


court to reverse the district court's ruling. Accordingly, Brown


cannot show prejudice due to his appellate counsel's failure to raise


the issue. Because Brown cannot establish that his appellate


counsel performed deficiently and cannot show prejudice, this claim


should be denied.




is one of the established exceptions to the Fourth and Fourteenth
Amendments' warrant and probable cause requirements).


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III. CONCLUSION


     For the foregoing reasons, Brown's § 2255 motion should be


DENIED.


     SO REPORTED AND RECOMMENDED this 24th day of


June, 2008.




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